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                             IN THE UNITED STATES BANKRUPTCY COURTFOR
                              THE SOUTHERN DISTRICT OF TEXAS HOUSTON                                                 ENTERED
                                               DIVISION                                                              07/15/2021

      IN RE:                                                    §
                                                                §          CASE NO. 21-32155 (MI)
      BUCKINGHAM SENIOR LIVING                                  §
      COMMUNITY, INC.1                                          §          CHAPTER 11
                                                                §
               Debtor.                                          §          Re: Dkt. No. 3
                                                                §


       THIRD INTERIM ORDER GRANTING EMERGENCY MOTION OF THE DEBTOR
          FOR ANORDER AUTHORIZING THE DEBTOR TO ESCROW CERTAIN
               ENTRANCE FEES AND REFUND CERTAIN ENTRANCE FEES

              Having considered Buckingham Senior Living Community, Inc.’s (“The Buckingham” or

     the “Debtor”) Emergency Motion of the Debtor for an Order Authorizing the Debtor to (i) Escrow

     Post-Petition Entrance Fees, and (ii) Refund Certain Entrance Fees (the “Motion”), 2 and the

     evidence and arguments presented at the hearing, the Court finds that: (a) jurisdiction over the

     matters in the Motion is proper pursuant to 28 U.S.C. § 1334; (b) venue is proper in this Court

     pursuant to 28 U.S.C. §§ 1408 and 1409; (c) proper and adequate notice of the Motion has been

     provided and no further notice is needed; (d) the relief sought in the Motion is in the best interest

     of the Debtor’s estate, its creditors, and all parties-in-interest; and (e) good and sufficient cause

     exists for granting the relief requested in the Motion. Accordingly, it is

              ORDERED that the Debtor is:

                       (a)      authorized to enter into the Escrow Agreement; and

                       (b)      authorized to deposit any entrance fees (the “Interim Entrance Fees”)
                                received from June 25, 2021 through and including July 27, 2021 in
                                connection with any and all life care agreements (the “Residence
                                Agreements”) into an escrow account (the “Escrow Account”) maintained

1
 The last four digits of the Debtor’s federal tax identification number are: 7872. The location of the Debtor’s principal place of
business and the service address for the Debtor is: 8580 Woodway Drive Houston, Texas 77063.
2
    All capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.

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                        by Regions Bank (the “Escrow Agent”), where such Interim Entrance Fees
                        shall remain until the occurrence of a Refund Event (as defined below), or
                        until their release is authorized pursuant to further order of this Court.

          It is further ORDERED that the Escrow Agent is:

                 (a) authorized to return Interim Entrance Fees in the Escrow Account to the resident
                     making such deposit (a “New Resident”) to the extent (each, a “RefundEvent”):

                        (1)     the New Resident is entitled to such a refund under his or her
                                Residence Agreement; or

                        (2)     the Facility closes.

          It is further ORDERED that nothing contained in this Interim Order shall cause the Interim

Entrance Fees contained in the Escrow Account to become property of this bankruptcy estate. It is

further

          ORDERED that nothing contained in the Motion or this Interim Order shall be deemed as

(a) an assumption, adoption, or rejection or any agreement, contract, or lease under section 365 of

the Bankruptcy Code; (b) an admission that any agreement, contract or lease is an executory

contract or unexpired lease as contemplated under section 365 of the Bankruptcy Code; or (c) a

waiver of any Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any

other applicable law. It is further

          ORDERED that, notwithstanding anything to the contrary in this Interim Order or the

Motion, any payment, obligations, or other relief authorized by this Interim Order shall be subject

to the terms, conditions, and limitations of the order of this Court approving any debtor in

possession financing and cash collateral use, including any budget in connection therewith. It is

further

          ORDERED that, notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of

this Interim Order shall be effective immediately and enforceable upon its entry. It is further

          ORDERED that Federal Rule of Bankruptcy Procedure 6003(b) has been satisfied because

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the relief requested in the Motion is necessary to avoid immediate and irreparable harm. It is further

        ORDERED that the deadline by which an interested party must file objections, if any, to

the escrow of Entrance Fees is July 22, 2021 at 5:00 p.m. (prevailing Central Time). It is further

        ORDERED that a final hearing will be held on July 27, 2021 at 9:00 a.m. (prevailing

Central Time). It is further

        ORDERED that in the event that a Final Order is entered modifying or terminating the

terms of the Escrow Agreement and/or the Escrow Account, such modification or termination will

not impact the protection of the Interim Entrance Fees and such Interim Entrance Fees will

continue to be separate property from this bankruptcy estate. It is further

        ORDERED that the Debtor, and its officers, employees, and agents, are authorized to take

or refrain from taking such acts as are necessary and appropriate to implement and effectuate the

relief requested herein. It is further

        ORDERED that, notwithstanding anything herein, the Debtor must comply with all

applicable laws regarding the escrow of Entrance Fees, including, without limitation, Chapter 246

of the Texas Health & Safety Code. It is further

        ORDERED that this Court retains jurisdiction over all matters arising from or related to

the interpretation and implementation of this Interim Order.



Signed: July 15, 2021
Signed: July 15, 2021
         October  17, 2018

                                                      ____________________________________
                                                          _______________________________
                                                                    Marvin Isgur
                                                          MarvinStates
                                                          United Isgur Bankruptcy Judge
                                                          United States Bankruptcy Judge




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